Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 1 of 8 PageID #: 6865




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

  UNITED STATES OF AMERICA

                 -against-                                                 VERDICT SHEET
                                                                           09 CR 466 (BMC) (S-4)
  JOAQUIN ARCHIVALDO GUZMAN LOERA,

                                Defendant.

  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

  Count One (Engaging in a Continuing Criminal Enterprise)

  Verdict on Count One:

           Guilty ______                          Not Guilty ______

           Answer the following question only if you have found the defendant guilty of this
           count.

           Indicate below which three or more violations you have unanimously found beyond a
           reasonable doubt were part of a continuing series of violations:

           Charge: International Cocaine Distribution with the Norte del Valle Cartel

                     Violation One (International Distribution of Cocaine – 3,200 kilograms –
                     January 2005)

                              Proven ______                          Not Proven ______

                     Violation Two (International Distribution of Cocaine – 12,000 kilograms –
                     August-September 2004)

                              Proven ______                          Not Proven ______

                     Violation Three (International Distribution of Cocaine – 10,500 kilograms –
                     August-September 2004)

                              Proven ______                          Not Proven ______
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 2 of 8 PageID #: 6866




              Violation Four (International Distribution of Cocaine – 10,000 kilograms –
              July 2004)

                     Proven ______               Not Proven ______

              Violation Five (International Distribution of Cocaine – 10,000 kilograms –
              May-June 2004)

                     Proven ______               Not Proven ______

              Violation Six (International Distribution of Cocaine – 800 kilograms – April
              2004)

                     Proven ______               Not Proven ______

              Violation Seven (International Distribution of Cocaine – 10,000 kilograms –
              March-April 2004)

                     Proven ______               Not Proven ______

              Violation Eight (International Distribution of Cocaine – 8,000 kilograms –
              January-March 2004)

                     Proven ______               Not Proven ______

              Violation Nine (International Distribution of Cocaine – 6,465 kilograms –
              January 2004)

                     Proven ______               Not Proven ______

              Violation Ten (International Distribution of Cocaine – 6,000 kilograms –
              November-December 2003)

                     Proven ______               Not Proven ______

              Violation Eleven (International Distribution of Cocaine – 3,600 kilograms –
              August-September 2003)

                     Proven ______               Not Proven ______

              Violation Twelve (International Distribution of Cocaine – 7,300 kilograms –
              April 21, 1993)

                     Proven ______               Not Proven ______


                                             2
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 3 of 8 PageID #: 6867




        Charge: International Distribution of Cocaine with the Cifuentes-Villa Organization

               Violation Thirteen (International Distribution of Cocaine – 450 kilograms –
               December 2008)

                      Proven ______               Not Proven ______

               Violation Fourteen (International Distribution of Cocaine – 8,300 kilograms –
               October 2009)

                      Proven ______               Not Proven ______

               Violation Fifteen (International Distribution of Cocaine – 7,500 kilograms –
               February 2009)

                      Proven ______               Not Proven ______

        Charge: International Distribution of Cocaine with Other South American Suppliers

               Violation Sixteen (International Distribution of Cocaine – 4,716 kilograms
               – September 2008)

                      Proven ______               Not Proven ______

               Violation Seventeen (International Distribution of Cocaine – 5,000 kilograms
               – September 2008)

                      Proven ______               Not Proven ______

               Violation Eighteen (International Distribution of Cocaine – 19,000 kilograms
               – March 2007)

                      Proven ______               Not Proven ______

               Violation Nineteen (International Distribution of Cocaine – 403 kilograms –
               January 2014)

                      Proven ______               Not Proven ______




                                              3
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 4 of 8 PageID #: 6868




        Charge: Distribution of Cocaine, Heroin, and Marijuana

               Violation Twenty (Distribution of Cocaine – 1,997 kilograms – January
               2003)

                      Proven ______               Not Proven ______

               Violation Twenty-One (Distribution of Cocaine – 1,952 kilograms – August
               2002)

                      Proven ______               Not Proven ______

               Violation Twenty-Two (Distribution of Cocaine – 1,923 kilograms – May
               2002)

                      Proven ______               Not Proven ______

               Violation Twenty-Three (Distribution of Cocaine – 1,100 kilograms –
               September 1999)

                      Proven ______               Not Proven ______

               Violation Twenty-Four (Distribution of Marijuana – 409 kilograms – January
               2012)

                      Proven ______               Not Proven ______

               Violation Twenty-Five (Distribution of Heroin – 20 kilograms – November
               2008)

                      Proven ______               Not Proven ______

               Violation Twenty-Six (Distribution of Cocaine – 926 kilograms – May 1990)

                      Proven ______               Not Proven ______

        Answer the following question only if you have found the defendant guilty of Counts
        Two, Three, or Four.

               Violation Twenty-Seven (Conspiracy to Commit Murder – January 1989-
               September 2014)

               Proven ______               Not Proven ______



                                             4
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 5 of 8 PageID #: 6869




        Answer the following questions only if you have found the defendant guilty of Count
        One.

               Has the government proved beyond a reasonable doubt that at least one
               violation that you have determined to be proven involved at least 150
               kilograms of cocaine?

                      Yes ______                    No ______

               Has the government proved beyond a reasonable doubt that the enterprise
               received $10 million or more in gross receipts during at least one 12-month
               period from the manufacture, importation, or distribution of cocaine?

                      Yes ______                    No ______

               Has the government proved beyond a reasonable doubt that the defendant was
               one of several principal administrators, organizers, or leaders of the enterprise?

                      Yes ______                    No ______

  Count Two (International Cocaine, Heroin, Methamphetamine and Marijuana
  Manufacture and Distribution Conspiracy)

  Verdict on Count Two:

        Guilty ______                       Not Guilty ______

        Answer the following question only if you have found the defendant guilty of this
        count.

               Has the government proved beyond a reasonable doubt that the offense
               involved five kilograms or more of cocaine?

                      Yes ______                    No ______

               Has the government proved beyond a reasonable doubt that the offense
               involved one kilogram or more of heroin?

                      Yes ______                    No ______

               Has the government proved beyond a reasonable doubt that the offense
               involved 500 grams or more of methamphetamine?

                      Yes ______                    No ______



                                               5
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 6 of 8 PageID #: 6870




                Has the government proved beyond a reasonable doubt that the offense
                involved 1,000 kilograms or more of marijuana?

                       Yes ______                  No ______

  Count Three (Cocaine Importation Conspiracy)

  Verdict on Count Three:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                Has the government proved beyond a reasonable doubt that the offense
                involved five kilograms or more of cocaine?

                       Yes ______                  No ______

  Count Four (Cocaine Distribution Conspiracy)

  Verdict on Count Four:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                Has the government proved beyond a reasonable doubt that the offense
                involved five kilograms or more of cocaine?

                       Yes ______                  No ______

  Count Five (International Distribution of Cocaine)

  Note: This is the same offense charged as Violation Thirteen in Count One.

  Verdict on Count Five:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.




                                               6
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 7 of 8 PageID #: 6871




         Has the government proved beyond a reasonable doubt that the offense involved five
         kilograms or more of cocaine?

                       Yes ______                  No ______

  Count Six (International Distribution of Cocaine)

  Note: This is the same offense charged as Violation Two in Count One.

  Verdict on Count Six:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                Has the government proved beyond a reasonable doubt that the offense
                involved five kilograms or more of cocaine?

                       Yes ______                  No ______

  Count Seven (International Distribution of Cocaine)

  Note: This is the same offense charged as Violation Three in Count One.

  Verdict on Count Seven:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                Has the government proved beyond a reasonable doubt that the offense
                involved five kilograms or more of cocaine?

                       Yes ______                  No ______

  Count Eight (International Distribution of Cocaine)

  Note: This is the same offense charged as Violation Eight in Count One.

  Verdict on Count Eight:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.
                                               7
Case 1:09-cr-00466-BMC-RLM Document 568 Filed 02/01/19 Page 8 of 8 PageID #: 6872




                Has the government proved beyond a reasonable doubt that the offense
                involved five kilograms or more of cocaine?

                       Yes ______                   No ______

  Count Nine (Use of Firearms)

  Note: Only consider this charge if you have found the defendant guilty of one or more of the
  charges in Counts One through Four.

  Verdict on Count Nine:

         Guilty ______                      Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                Has the government proved beyond a reasonable doubt that one or more of the
                firearms at issue in Count Nine was brandished?

                       Yes ______                   No ______

                Has the government proved beyond a reasonable doubt that one or more of the
                firearms at issue in Count Nine was discharged?

                       Yes ______                   No ______

                Has the government proved beyond a reasonable doubt that one or more of the
                firearms at issue in Count Nine was a machinegun?

                       Yes ______                   No ______

  Count Ten (Conspiracy to Launder Narcotics Proceeds)

  Verdict on Count Ten:

         Guilty ______                      Not Guilty ______



  Dated: Brooklyn, New York
         February __, 2019           ______________________
                                     Foreperson




                                               8
